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                           EXHIBIT 1
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                                            50 State Chart Regarding Unregistered Securities Statutes and Caselaw

State     Private     Unregistered         Application of Pinter v. Dahl1       Statute Concerning Liability of             Statutory Definition of Agent
          Right of    Securities Statute                                        Agents
          Action

AL        Yes.        ALA. CODE § 8-6-     Expansion of Seller’s Liability      Agent Materially Aids                       Yes.
                      4 (2024)
                                           Foster v. Jesup and Lamont, 482      ALA. CODE § 8-6-19(c) (2024)                ALA. CODE § 8-6-2(2) (2024)
                                           So.2d 1201, 1206-07 (Ala. 1986)
                                                                                                                          “(2) Any individual other than a dealer
                                                                                “(c) Every person who directly or who represents a dealer or issuer in
                                                                                indirectly controls a person liable under effecting or attempting to effect sales of
                                                                                subsections (a) or (b) of this section, securities…”
                                                                                including every partner, officer, or
                                                                                director of such a person … and every
                                                                                dealer or agent who materially aids in
                                                                                such conduct is also liable jointly and
                                                                                severally with and to the same extent as
                                                                                the person liable…”


AK        Yes.        ALASKA STAT.         N/A                                  Agent Materially Aids                       Yes.
                      ANN. § 45.56.100
                      (West 2024)                                               ALASKA STAT. ANN. § 45.56.710(g)(4)         ALASKA STAT. ANN. § 45.56.900(2)
                                                                                (West 2024)                                 (West 2024)

                                                                                “(g) The following persons are liable       “(2) “agent” means an individual, other
                                                                                jointly and severally with and to the       than a broker-dealer, who represents a
                                                                                same extent as persons liable under (b)--   broker-dealer in effecting or attempting to
                                                                                (f) of this section:                        effect purchases or sales of securities or
                                                                                                     …                      represents an issuer in effecting or


1 N/A is placed for states where no case was located directly addressing Pinter v. Dahl or defining primary liability.
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                                                         (4) a person that is a broker-dealer,      attempting to effect purchases or sales of
                                                         agent, investment adviser, or              the issuer's securities; however, a partner,
                                                         investment adviser representative          officer, or director of a broker-dealer or
                                                         that materially aids the conduct           issuer, or an individual having a similar
                                                         giving rise to the liability under (b)--   status or performing similar functions is
                                                         (f) of this section, unless the person     an agent only if the individual otherwise
                                                         sustains the burden of proof that the      comes within the term…”
                                                         person did not know and, in the
                                                         exercise of reasonable care, could
                                                         not have known of the existence of
                                                         conduct because of which the
                                                         liability is alleged to exist.”


AR   Yes.   ARK. CODE ANN.      N/A                Agent Materially Aids                            Yes.
            § 23-42-501 (West
            2023)                                  ARK. CODE ANN. § 23-42-106(d)(1)-                ARK. CODE ANN. § 23-42-102(1)(A)
                                                   (2)(B)(iv) (West 2023)                           (West 2023)

                                                   “(d)(1) A secondary offender has joint “(1)(A) “Agent” means an individual,
                                                   and several liability with a right of other than a broker-dealer, who:
                                                   contribution for the actions of a primary  (i) Represents a broker-dealer or
                                                   offender unless the secondary offender     issuer in effecting or attempting to
                                                   satisfies the burden of proving that the   effect purchases or sales of securities;
                                                   secondary offender did not know, and in    or
                                                   the exercise of reasonable care could      (ii) Supervises individuals who effect
                                                   not have known, of the existence of the    or attempt to effect purchases or sales
                                                   actions of the primary offender that give  of securities for a broker-dealer
                                                   rise to liability under this section.                         …
                                                   (2) As used in subdivision (d)(1) of this  (C) A partner, officer, or director of a
                                                   section:                                   broker-dealer or issuer, or a person
                                                                        …                     occupying a similar status or
                                                       (iv) A broker-dealer, agent,           performing similar functions, is an
                                                       investment adviser, or investment      agent only if he or she otherwise
                                                       adviser representative that materially comes within this definition.”
                                                       aids in the actions of a primary

                                                     2
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                                                                                      offender that give rise to liability
                                                                                      under this section.”


AZ        Yes.        ARIZ. REV. STAT.     Expansion of Seller’s Liability      Agent Participated                           No.
                      ANN. §               Standard Chartered PLC v.
                      44-1841 (2024)       Price Waterhouse, 945 P.2d 317,      ARIZ. REV. STAT. ANN. § 44-2003(A)
                                           333-34 (Ariz. Ct. App. 1996)         (2024)
                                           (analyzing liability based on
                                           individuals who “induced” a          “A. Subject to the provisions of this
                                           securities transaction.)2            section, an action brought under § 44-
                                                                                2001, 44-2002 or 44-2032 may be
                                                                                brought against any person, including
                                           See also Richard G. Himelrick,
                                                                                any dealer, salesman or agent, who
                                           Arizona Securities Fraud             made, participated in or induced the
                                           Liability: Charting A Non-           unlawful sale or purchase, and such
                                           Federal Path, 32 Ariz. St. L.J.      persons shall be jointly and severally
                                                                                liable to the person who is entitled to
                                           203, 219 (2000)
                                                                                maintain such action. No person shall be
                                                                                deemed to have participated in any sale
                                                                                or purchase solely by reason of having
                                                                                acted in the ordinary course of that
                                                                                person's professional capacity in
                                                                                connection with that sale or purchase.”


CA        Yes.        CAL. CORP. CODE      Privity                              Agent Materially Aids                        Yes.
                      § 25110 (West
                      2023)                Dietrich v. Bauer, 76 F. Supp. 2d CAL. CORP. CODE § 25504 (West 2023)             CAL. CORP. CODE § 25003(a)-(d) (West
                                           312, 351 (S.D.N.Y. 1999)                                                          2023)
                                                                             “Every person who directly or indirectly
                                                                             controls a person liable under Section          “(a) “Agent” means any individual, other
                                                                             25501 or 25503 … and every broker-              than a broker-dealer or a partner of a



2 There is minimal Arizona caselaw clearly discussing the scope of seller’s or primary liability.
                                                                                  3
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                                                                 dealer or agent who materially aids in the   licensed broker-dealer, who represents a
                                                                 act or transaction constituting the          broker-dealer or who for compensation
                                                                 violation, are also liable jointly and       represents an issuer in effecting or
                                                                 severally with and to the same extent as     attempting to effect purchases or sales of
                                                                 such person…”                                securities in this state.
                                                                                                                                    …
                                                                                                              (d) An officer or director of a broker-
                                                                                                              dealer or issuer, or an individual
                                                                                                              occupying a similar status or performing
                                                                                                              similar functions, is an agent only if he or
                                                                                                              she otherwise comes within this definition
                                                                                                              and receives compensation specifically
                                                                                                              related to purchases or sales of
                                                                                                              securities.”


CO   Yes.   COLO. REV. STAT     Follows Pinter                   No.                                          No.
            § 11-51-301 (West
            2024)               Allison v. Bank One-Denver,
                                1994 WL 637403, at *5 (D.
                                Colo. Jan. 7, 1994)


CT   Yes.   CONN. GEN. STAT.    Follows Pinter                   Agent Materially Aids                        Yes.
            ANN. § 36b-16
            (West 2023)         Gorga v. Uniroyal Chem. Corp.,   CONN. GEN. STAT. ANN. § 36b-29(c) CONN. GEN. STAT. ANN. § 36b-3(1)
                                697 A.2d 731, 735-36 (Super.     (West 2023)                       (West 2023)
                                Ct. 1996)
                                                                 “(c) Every person who directly or            “(1) Agent” means any individual, other
                                                                 indirectly controls a person liable under    than a broker-dealer, who represents a
                                                                 subsections (a) and (b) of this section …    broker-dealer or issuer in effecting or
                                                                 and every broker-dealer or agent who         attempting to effect purchases or sales of
                                                                 materially aids in the act or transaction    securities…”
                                                                 constituting the violation are also liable
                                                                 jointly and severally with and to the
                                                                 same extent as such person…”

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DE        Yes.        DEL. CODE ANN.     Follows Pinter                       Agent Materially Aids                          Yes.
                      tit. 6, § 73-
                      202 (West 2024)    See generally Broyles v. Cantor      DEL. CODE ANN. tit. 6, § 73-605(b) DEL. CODE ANN. tit. 6, § 73-103(a)(1)
                                         Fitzgerald & Co., 2014 WL            (West 2024)                        (West 2024)
                                         6886158 at *7 (M.D. La. Dec. 8,
                                         2014) (noting there is no conflict   “(b) Every person who directly or              “(1) “Agent” means any individual, other
                                         between Delaware and Louisiana       indirectly controls a seller or buyer liable   than a broker-dealer, who represents a
                                         securities law).3                    under subsection (a) of this section …         broker-dealer or issuer in effecting or
                                                                              and every broker-dealer or agent who           attempting to effect purchases or sales of
                                                                              materially aids in the sale or purchase are    securities…”
                                                                              also liable jointly and severally with and
                                                                              to the same extent as the seller or
                                                                              buyer…”


DC        Yes.        D.C. CODE ANN. §   Follows Pinter                       Agent Materially Aids                          Yes.
                      31-5603.01 (West
                      2024)              Fed. Hous. Fin. Agency v.            D.C. CODE ANN. § 31-5606.05(c) (West D.C. CODE ANN. § 31-5601.01(3)(A)-(B)
                                         Nomura Holding Am., Inc., 104        2024)                                (West 2024)
                                         F. Supp. 3d 441, 596 (S.D.N.Y.
                                         2015), aff'd sub nom. Fed. Hous.     “(c) A person who directly or indirectly       “(3)(A) “Agent” means an individual,
                                         Fin. Agency for Fed. Nat'l           controls a person liable under subsection      other than a broker-dealer, who represents
                                         Mortg. Ass'n v. Nomura Holding       (a) of this section … and a broker-dealer      a broker-dealer or issuer in effecting, or
                                         Am., Inc., 873 F.3d 85 (2d Cir.      or agent who materially aids in the            attempting to effect, purchases or sales of
                                         2017)                                conduct shall be liable jointly and            securities
                                                                              severally with, and to the same extent as                          …
                                                                              the person liable…”
                                                                                                                             (B) A partner, including a general partner,
                                                                                                                             officer, or director of a broker-dealer or
                                                                                                                             issuer, or a person occupying a similar
                                                                                                                             status or performing similar functions, is
                                                                                                                             an agent only if (i) the person otherwise
                                                                                                                             comes within this definition, and (ii) any


3 Louisiana applies Pinter, see infra.
                                                                                5
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                                                                                                                compensation that he or she receives is
                                                                                                                directly or indirectly related to purchases
                                                                                                                or sales of securities.”


FL   Yes.   FLA. STAT. ANN.   Follows Pinter                      Agent Participated                            No.
            § 517.07 (West
            2024)             Dillon v. Axxsys Int'l, Inc., 385   FLA. STAT. ANN. § 517.211(2) (West
                              F. Supp. 2d 1307, 1311-12           2024)
                              (M.D. Fla. 2005), aff'd, 185 F.
                              App'x 823 (11th Cir. 2006)          “(2) Any person purchasing or selling a
                                                                  security in violation of s. 517.301, and
                                                                  every director, officer, partner, or agent
                                                                  of or for the purchaser or seller, if the
                                                                  director, officer, partner, or agent has
                                                                  personally participated or aided in
                                                                  making the sale or purchase, is jointly
                                                                  and severally liable to the person selling
                                                                  the security to or purchasing the security
                                                                  from such person in an action for
                                                                  rescission, if the plaintiff still owns the
                                                                  security, or for damages, if the plaintiff
                                                                  has sold the security.”


GA   Yes.   GA. CODE ANN. §   Follows Pinter                      Agent Materially Aids                         Yes.
            10-5-20 (West
            2024)             Zimmerman v. Matson Money,          GA. CODE ANN. § 10-5-58(g)(4) (West GA. CODE ANN. § 10-5-2(1) (West 2024)
                              Inc., 2021 WL 6113659, at *8        2024)
                              (N.D. Ga. June 9, 2021)                                                      “1. “Agent” means an individual, other
                                                                  “g. The following persons are liable than a broker-dealer, who represents a
                                                                  jointly and severally with and to the broker-dealer in effecting or attempting to
                                                                  same extent as persons liable under effect purchases or sales of securities or
                                                                  subsections (b) through (f) of this Code who represents an issuer in effecting or
                                                                  section:                                 attempting to effect purchases or sales of
                                                                                     …                     the issuer's securities…”

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                                                         4. A person that is a broker-dealer,
                                                         agent, investment adviser, or
                                                         investment adviser representative
                                                         that materially aids the conduct
                                                         giving rise to the liability under
                                                         subsections (b) through (f) of this
                                                         Code section, unless the person
                                                         sustains the burden of proof that the
                                                         person did not know and, in the
                                                         exercise of reasonable care could not
                                                         have known, of the existence of
                                                         conduct by reason of which liability
                                                         is alleged to exist.”


HI   Yes.   HAW. REV. STAT.   N/A                  Agent Materially Aids                         Yes.
            ANN. § 485A-
            301 (West 2024)                        HAW. REV. STAT. ANN. § 485A-                  HAW. REV. STAT. ANN. § 485A-102
                                                   509(g)(4) (West 2024)                         (West 2024)

                                                   “(g) The following persons are liable          ‘“Agent” means an individual, other
                                                   jointly and severally with and to the         than a broker-dealer, who represents a
                                                   same extent as persons liable under           broker-dealer in effecting or attempting
                                                   subsections (b) to (f):                       to effect purchases or sales of securities
                                                                       …                         or represents an issuer in effecting or
                                                       (4) A person that is a broker-dealer,     attempting to effect purchases or sales of
                                                       agent, investment adviser, or             the issuer's securities…”
                                                       investment adviser representative
                                                       that materially aids the conduct
                                                       giving rise to the liability under
                                                       subsections (b) to (f), unless the
                                                       person sustains the burden of proof
                                                       that the person did not know and, in
                                                       the exercise of reasonable care could
                                                       not have known, of the existence of
                                                     7
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                                                                     conduct by reason of which liability
                                                                     is alleged to exist.”


ID   Yes.   IDAHO CODE         Follows Pinter                  Agent Materially Aids                        Yes.
            ANN. § 30-14-301
            (West 2024)        Meyers v. Lott, 993 P.2d 609,   IDAHO CODE ANN. § 30-14-509(g)(4)            IDAHO CODE ANN. § 30-14-102(2)
                               612-13 (Idaho 2000)                                                          (2024)
                                                               (2024)
                                                                                                            “(2) “Agent” means an individual, other
                                                               “(g) Joint and several liability. The        than a broker-dealer, who represents a
                                                               following persons are liable jointly and     broker-dealer in effecting or attempting to
                                                               severally with and to the same extent as     effect purchases or sales of securities or
                                                               persons liable under subsections (b)         who represents an issuer in effecting or
                                                               through (f) of this section:                 attempting to effect purchases or sales of
                                                                                    …                       the issuer's securities...”
                                                                   (4) A person that is a broker-dealer,
                                                                   agent, investment adviser, or
                                                                   investment adviser representative
                                                                   that materially aids the conduct
                                                                   giving rise to the liability under
                                                                   subsections (b) through (f) of this
                                                                   section, unless the person sustains
                                                                   the burden of proof that the person
                                                                   did not know and, in the exercise of
                                                                   reasonable care could not have
                                                                   known, of the existence of conduct
                                                                   by reason of which liability is
                                                                   alleged to exist.”


IL   Yes.   815 ILL. COMP.     N/A                             No.                                          No.
            STAT.
            5/13A (West
            2024)



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IN   Yes.   IND. CODE ANN. §   Privity                          Agent Materially Aids                        Yes.
            23-19-3-1 (West
            2024)              Rector, Wardens, Vestrymen of                                                 IND. CODE ANN. § 23-19-1-2(1) (West
                                                                IND. CODE ANN. § 23-19-5-9(d)(4)
                               Christ Church Cathedral of                                                    2024)
                               Indianapolis v. JPMorgan Chase   (West 2024)
                               & Co., 2015 WL 2449556, at *8                                                 “(1) “Agent” means an individual, other
                               (S.D. Ind. May 21, 2015)         “(d) The following persons are liable        than a broker-dealer, who represents a
                                                                jointly and severally with and to the        broker-dealer in effecting or attempting to
                                                                same extent as persons liable under          effect purchases or sales of securities or
                                                                subsections (a) through (c):                 represents an issuer in effecting or
                                                                                                             attempting to effect purchases or sales of
                                                                                    …
                                                                                                             the issuer's securities…”
                                                                    (4) A person that is a broker-dealer,
                                                                    agent, investment adviser, or
                                                                    investment adviser representative
                                                                    that materially aids the conduct
                                                                    giving rise to the liability under
                                                                    subsections (a) through (c), unless
                                                                    the person sustains the burden of
                                                                    proof that the person did not know,
                                                                    and in the exercise of reasonable care
                                                                    could not have known, of the
                                                                    existence of conduct by reason of
                                                                    which liability is alleged to exist.”


IA   Yes.   IOWA CODE ANN.     N/A                              Agent Materially Aids                        Yes.
            § 502.301 (West
            2024)                                               IOWA CODE ANN. § 502.509(7)(d)               IOWA CODE ANN. § 502.102(2) (West
                                                                                                             2024)
                                                                (West 2024)
                                                                                                             “2. Agent” means an individual, other
                                                                “7. Joint and several liability. The         than a broker-dealer, who represents a
                                                                following persons are liable jointly and     broker-dealer in effecting or attempting to
                                                                  9
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                                                            severally with and to the same extent as     effect purchases or sales of securities or
                                                            persons liable under subsections 2           represents an issuer in effecting or
                                                            through 6:                                   attempting to effect purchases or sales of
                                                                                …                        the issuer's securities…”
                                                                d. A person that is a broker-dealer,
                                                                agent, investment adviser, or
                                                                investment adviser representative
                                                                that materially aids the conduct
                                                                giving rise to the liability under
                                                                subsections (a) through (c), unless
                                                                the person sustains the burden of
                                                                proof that the person did not know,
                                                                and in the exercise of reasonable care
                                                                could not have known, of the
                                                                existence of conduct by reason of
                                                                which liability is alleged to exist.”


KS   Yes.   KAN. STAT. ANN.   Follows Pinter                Agent Materially Aids                        Yes.
            § 17-12a301
            (West 2024)       Klein v. Oppenheimer & Co.,   KAN. STAT. ANN. § 17-12a509(g)(4) KAN. STAT. ANN. § 17-12a102(2) (West
                              130 P.3d 569, 576 (2006)      (West 2024)                       2024)

                                                            “(g) Joint and several liability. The        “(2) “Agent” means an individual, other
                                                            following persons are liable jointly and     than a broker-dealer, who represents a
                                                            severally with and to the same extent as     broker-dealer in effecting or attempting to
                                                            persons liable under subsections (b)         effect purchases or sales of securities or
                                                            through (f):                                 represents an issuer in effecting or
                                                                               …                         attempting to effect purchases or sales of
                                                                (4) a person that is a broker-dealer,    the issuer's securities…”
                                                                agent, investment adviser, or
                                                                investment adviser representative
                                                                that materially aids the conduct
                                                                giving rise to the liability under
                                                                subsections (b) through (f), unless
                                                                the person sustains the burden of
                                                                proof that the person did not know
                                                             10
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                                                                        and, in the exercise of reasonable
                                                                        care could not have known, of the
                                                                        existence of conduct by reason of
                                                                        which liability is alleged to exist.”


KY   Yes.   KY. REV. STAT.     Follows Pinter                     Agent Materially Aids                         Yes.
            ANN. § 292.340
            (West 2024)        Clayton v. Heartland Res., Inc.,   KY. REV. STAT. ANN. § 292.480(4) KY. REV. STAT. ANN. § 292.310(1) (West
                               754 F. Supp. 2d 884, 896-97        (West 2024)                      2024)
                               (W.D. Ky. 2010)
                                                                  “(4) Every person who directly or              “(1) “Agent” means any individual other
                                                                  indirectly controls a seller or purchaser     than a broker-dealer who represents a
                                                                  liable under subsection (1) or (2) of this    broker-dealer or issuer in effecting or
                                                                  section … every broker-dealer or agent        attempting to effect purchases or sales of
                                                                  who materially aids in the sale or            securities…”
                                                                  purchase is also liable jointly and
                                                                  severally with and to the same extent as
                                                                  the seller or purchaser…”


LA   Yes.   LA. STAT. ANN. §   Follows Pinter                     No.                                           No.
            51:705 (2024)
                               Firefighters’ Retirement Sys. v.
                               Citco Group Ltd., 2019 WL
                               13194025, at *4-6 (M.D. La.
                               Jan. 9, 2019)


ME   Yes.   ME. REV. STAT.     N/A                                Agent Materially Aids                         Yes.
            tit. 32, § 16301
            (2024)                                                ME. REV. STAT. tit. 32, § 16509(7)(D) ME. REV. STAT. tit. 32, § 16102(2) (2024)
                                                                  (2024)
                                                                                                           “2. “Agent” means an individual, other
                                                                  “7. Joint and several liability. The than a broker-dealer, who represents a
                                                                  following persons are liable jointly and broker-dealer in effecting or attempting to

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                                                                severally with and to the same extent as      effect purchases or sales of securities or
                                                                persons liable under subsections 2 to 6:      represents an issuer in effecting or
                                                                                    …                         attempting to effect purchases or sales of
                                                                D. A person that is a broker-dealer,
                                                                                                              the issuer's securities. A partner, officer or
                                                                agent, investment adviser or investment
                                                                adviser representative that materially        director of a broker-dealer or issuer or an
                                                                aids the conduct giving rise to the           individual having a similar status or
                                                                liability under subsections 2 to 6, unless    performing similar functions is an agent
                                                                the person sustains the burden of proof       only if the individual otherwise comes
                                                                that the person did not know and, in the      within the meaning of the term “agent…”
                                                                exercise of reasonable care, could not
                                                                have known of the existence of conduct
                                                                by reason of which the liability is alleged
                                                                to exist.”


MD   Yes.   MD. CODE ANN.,    Follows Pinter                    Agent Materially Aids                         Yes.
            CORPS. & ASS'NS
            § 11-501 (West    Baker, Watts & Co. v. Miles &     MD. CODE ANN., CORPS. & ASS'NS § 11- MD. CODE ANN., CORPS. & ASS'NS § 11-
            2023)             Stockbridge, 620 A.2d 356, 374-   703(c)(1) (West 2023)                101(b) (West 2023)
                              75 (1993), superseded on other
                              grounds                           “(c)(1) Every person who directly or          “(b)(1) “Agent” means an individual
                                                                indirectly controls a person liable under     other than a broker-dealer who represents
                                                                subsection (a) of this section … and          a broker-dealer or issuer in effecting or
                                                                every broker-dealer or agent who              attempting to effect the purchase or sale
                                                                materially aids in such conduct are also      of securities.
                                                                liable jointly and severally with and to      (2) “Agent” includes a partner, officer, or
                                                                the same extent as the person liable...”      director of a broker-dealer or issuer, or a
                                                                                                              person occupying a similar status or
                                                                                                              performing similar functions, only if the
                                                                                                              person otherwise comes within this
                                                                                                              definition.”


MA   Yes.   MASS. GEN. LAWS   Follows Pinter                    Agent Materially Aids                         Yes.
            ANN. ch. 110A §
            301 (2024)
                                                                 12
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                                           Sherter v. Ross Fialkow Cap.        MASS. GEN. LAWS ANN. ch. 110A, §             MASS. GEN. LAWS ANN. ch. 110A, §
                                           Partners, LLP, 2013 WL              410(b) (2024)                                401(b) (2024)
                                           1324818, at *8-10 (Mass. Super.
                                           Jan. 4, 2013)                       “(b) Every person who directly or            “(b) “Agent” means any individual other
                                                                               indirectly controls a seller liable under    than a broker-dealer who represents a
                                                                               subsection (a), every partner, officer, or   broker-dealer or issuer in effecting or
                                                                               director of such a seller, every person
                                                                                                                            attempting to effect purchases or sales of
                                                                               occupying a similar status or performing
                                                                               similar functions … every broker-dealer      securities.
                                                                               or agent who materially aids in the sale                          …
                                                                               are also liable jointly and severally with   A partner, officer, or director of a broker-
                                                                               and to the same extent as the seller...”     dealer or issuer, or a person occupying a
                                                                                                                            similar status or performing similar
                                                                                                                            functions, is an agent only if he otherwise
                                                                                                                            comes within this definition.”


MI        Yes.       MICH. COMP.           Follows Pinter                      Agent Materially Aids                        Yes.
                     LAWS ANN. §
                     451.2301 (West        See generally In re Infocure Sec.   MICH. COMP. LAWS ANN. §                      MICH. COMP. LAWS ANN. § 451.2102(b)
                     2024)                 Litig., 210 F. Supp. 2d 1331,       451.2509(7)(d) (West 2024)                   (West 2024)
                                           1363, 1365 (N.D. Ga. 2002)
                                           (Explaining that the Michigan,      “(7) The following persons are liable        “(b) “Agent” means an individual other
                                           South Carolina, and North           jointly and severally with and to the        than a broker-dealer who represents a
                                           Carolina statutes are “identical    same extent as persons liable under          broker-dealer in effecting or attempting to
                                           for all practical purposes,” and                                                 effect purchases or sales of securities or
                                                                               subsections (2) to (6):
                                           mirror Section 12(a) of the                                                      represents an issuer in effecting or
                                           Federal Securities Act of 1933.)                        …                        attempting to effect purchases or sales of
                                           4                                   (d) A person that is a broker-dealer,        the issuer's securities…”
                                                                               agent, investment adviser, or investment
                                                                               adviser representative that materially
                                                                               aids the conduct giving rise to the



4 There is minimal Michigan caselaw clearly discussing the scope of seller’s or primary liability.
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                                                                 liability under subsections (2) to (6),
                                                                 unless the person sustains the burden of
                                                                 proving that the person did not know
                                                                 and, in the exercise of reasonable care
                                                                 could not have known, of the existence
                                                                 of the conduct by reason of which
                                                                 liability is alleged to exist.”


MN   Yes.   MINN. STAT. ANN.   Follows Pinter                    Agent Materially Aids                        Yes.
            § 80A.49 (West
            2024)              IDS Bond Fund, Inc. v. Gleacher   MINN. STAT. ANN. § 80A.76(g)(4)              MINN. STAT. ANN. § 80A.41(3) (West
                               NatWest Inc., 2002 WL 373455,     (West 2024)                                  2024)
                               at *10-11 (D. Minn. Mar. 6,
                               2002)                             “(g) Joint and several liability. The        “(3) “Agent” means an individual, other
                                                                 following persons are liable jointly and     than a broker-dealer, who represents a
                                                                 severally with and to the same extent as     broker-dealer in effecting or attempting to
                                                                                                              effect purchases or sales of securities or
                                                                 persons liable under subsections (b)
                                                                                                              represents an issuer in effecting or
                                                                 through (f):                                 attempting to effect purchases or sales of
                                                                                      …                       the issuer's securities. But a partner,
                                                                 (4) a person that is a broker-dealer,        officer, or director of a broker-dealer or
                                                                 agent, investment adviser, or investment     issuer, or an individual having a similar
                                                                 adviser representative that materially       status or performing similar functions is
                                                                 aids the conduct giving rise to the          an agent only if the individual otherwise
                                                                                                              comes within the term...”
                                                                 liability under subsections (b) through
                                                                 (f), unless the person sustains the burden
                                                                 of proof that the person did not know
                                                                 and, in the exercise of reasonable care
                                                                 could not have known, of the existence
                                                                 of conduct by reason of which liability is
                                                                 alleged to exist.”



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MS        Yes.        MISS. CODE ANN.       Follows Pinter                      Agent Materially Aids                        Yes.
                      § 75-71-301 (West
                      2024)                 See generally Allyn v. Wortman,     MISS. CODE ANN. § 75-71-509(g)(4)            MISS. CODE ANN. § 75-71-102(2) (West
                                            725 So.2d 94, 102 (Miss. 1998)      (West 2024)                                  2024)
                                            (applying federal standards to
                                            questions under Mississippi                                                      “(2) “Agent” means an individual, other
                                                                                “(g) Joint and several liability. The
                                            Securities Act).5                                                                than a broker-dealer, who represents a
                                                                                following persons are liable jointly and     broker-dealer in effecting or attempting to
                                                                                severally with and to the same extent as     effect purchases or sales of securities or
                                                                                persons liable under subsections (b)         represents an issuer in effecting or
                                                                                through (f):                                 attempting to effect purchases or sales of
                                                                                                     …                       the issuer's securities…”
                                                                                (4) A person that is a broker-dealer,
                                                                                agent, investment adviser, or investment
                                                                                adviser representative that materially
                                                                                aids the conduct giving rise to the
                                                                                liability under subsections (b) through
                                                                                (f), unless the person sustains the burden
                                                                                of proof that the person did not know
                                                                                and, in the exercise of reasonable care
                                                                                could not have known, of the existence
                                                                                of conduct by reason of which liability is
                                                                                alleged to exist.”




5 There is minimal Mississippi caselaw clearly discussing the scope of seller’s or primary liability.
                                                                                  15
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MO   Yes.   MO. ANN. STAT. §   Follows Pinter                    Agent Materially Aids                        Yes.
            409.3-301 (West
            2023)              In re Reuter, 2010 WL 3606032,                                                 MO. ANN. STAT. § 409.1-102(1) (West
                                                                MO. ANN. STAT. § 409.5-509(g)(4)
                               at *4 (Bankr. W.D. Mo. Sept. 10,                                               2023)
                               2010)                            (West 2023)
                                                                                                              “(1) “Agent” means an individual, other
                                                                 “(g) The following persons are liable        than a broker-dealer, who represents a
                                                                 jointly and severally with and to the        broker-dealer in effecting or attempting to
                                                                 same extent as persons liable under          effect purchases or sales of securities or
                                                                 subsections (b) through (f):                 represents an issuer in effecting or
                                                                                    …                         attempting to effect purchases or sales of
                                                                     (4) a person that is a broker-dealer,    the issuer's securities…”
                                                                     agent, investment adviser, or
                                                                     investment adviser representative
                                                                     that materially aids the conduct
                                                                     giving rise to the liability under
                                                                     subsections (b) through (f)…”


MT   Yes.   MONT. CODE         Expansion of Seller’s Liability   No.                                          No.
            ANN. § 30-10-
            202 (West 2024)    Mosley v. Am. Exp. Fin.
                               Advisors, Inc., 230 P.3d 479,
                               484-85 (2010)


NE   Yes.   NEB. REV. STAT.    Follows Pinter                    Agent Materially Aids                        Yes.
            ANN. § 8-1104
            (West 2024)        Wilson v. Misko, 508 N.W.2d       NEB. REV. STAT. ANN. § 8-1118(3)             NEB. REV. STAT. ANN. § 8-1101(1)
                               238, 248 (Neb. 1993)              (West 2024)                                  (West 2024)

                                                                 “(3) Every person who directly or            “(1) Agent means any individual other
                                                                 indirectly controls a person liable under    than a broker-dealer who represents a
                                                                 subsections (1) and (2) of this section,     broker-dealer or issuer in effecting or
                                                                 including every partner, limited liability   attempting to effect sales of securities…”
                                                                 company member, officer, director …
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                                                                  and every broker-dealer, issuer-dealer,
                                                                  agent, investment adviser, or investment
                                                                  adviser representative who materially
                                                                  aids in such conduct shall be liable
                                                                  jointly and severally with and to the
                                                                  same extent as such person…”


NV   Yes.   NEV. REV. STAT.     Expansion of Seller’s Liability   No.                                           No.
            ANN. § 90.460
            (West 2023)         Ayers v. Lee, 2015 WL 1191641,
                                at *2-4 (S.D. Cal. Mar. 16,
                                2015)


NH   Yes.   N.H. REV. STAT.     Follows Pinter                    Agent Materially Aids                         Yes.
            ANN. § 421-B:3-
            301 (2024)          Baldwin v. Kulch Assocs., Inc.,   N.H. REV. STAT. ANN. § 421-A:14(II)           N.H. REV. STAT. ANN. § 421-B:1-102(3)
                                39 F. Supp. 2d 111, 117 (D.N.H.   (2024)                                        (2024)
                                1998)
                                                                  “ II. Every person who directly or            “(3) “Agent” means an individual, other
                                                                  indirectly controls a person liable under     than a broker-dealer, who represents a
                                                                  paragraph I of this section, every partner,   broker-dealer in effecting or attempting to
                                                                  principal executive officer or director of    effect purchases or sales of securities or
                                                                  such person… and broker-dealer or             represents an issuer in effecting or
                                                                  agent who materially aids in the act or       attempting to effect purchases or sales of
                                                                  transaction constituting the violation, is    the issuer's securities…”
                                                                  also liable jointly or severally with and
                                                                  to the same extent as such person…”


NJ   Yes.   N.J. STAT. ANN. §   Follows Pinter                    Agent Materially Aids                         Yes.
            49:3-60 (West
            2023)               Zendell v. Newport Oil Corp.,     N.J. STAT. ANN. § 49:3-71(d) (West            N.J. STAT. ANN. § 49:3-49(b) (West
                                544 A.2d 878, 882-83 (N.J.        2023)                                         2023)
                                Super. Ct. App. Div. 1988); see
                                also Abrahamsen v. Laurel
                                                                   17
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                                 Gardens Ltd., 276 N.J. Super      “(d) Every person who directly or           “(b) “Agent” means any individual other
                                 199, 213 (App. Div. 1993).        indirectly controls a seller liable under   than a broker-dealer, who represents a
                                                                   subsection (a) of this section, every       broker-dealer or issuer in effecting or
                                                                   partner, officer, or director of such a     attempting to effect purchases or sales of
                                                                   seller, or investment adviser … and         securities...”
                                                                   every broker-dealer, investment adviser,
                                                                   investment adviser representative or
                                                                   agent who materially aids in the sale or
                                                                   conduct are also liable jointly and
                                                                   severally with and to the same extent as
                                                                   the seller or investment adviser…”


NM   Yes.      N.M. STAT. ANN.   Expansion of Seller’s Liability   Agent Materially Aids                       Yes.
               § 58-13C-301
               (West 2024)       Segal v. Goodman, 851 P.2d        N.M. STAT. ANN. § 58-13C-509(g)(4)          N.M. STAT. ANN. § 58-13C-102(A)
                                 471, 476 (N.M. 1993)              (West 2024)                                 (West 2024)

                                                                   “(g) The following persons are liable       “A. “agent” means an individual, other
                                                                   jointly and severally with and to the       than a broker-dealer, who represents a
                                                                   same extent as persons liable under         broker-dealer in effecting or attempting
                                                                   subsections B through F of this section:    to effect purchases or sales of securities
                                                                                      …                        or represents an issuer in effecting or
                                                                       (4) A person that is a broker-dealer,   attempting to effect purchases or sales of
                                                                       agent, investment adviser or            the issuer's securities…”
                                                                       investment adviser representative
                                                                       that materially aids the conduct
                                                                       giving rise to the liability under
                                                                       subsections B through F of this
                                                                       section…”


NY   No                          No.                               No.                                         No.
     private
                                 CPC Int'l Inc. v. McKesson
                                 Corp., 514 N.E.2d 116, 120
                                 (1987) (holding that New York
                                                                    18
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          right of                        and Rhode Island do not
          action.6                        “provide for some form of civil
                                          liability”); see also Mori v.
                                          Saito, 2012 WL 13042573, at
                                          *13 (S.D.N.Y. Feb. 16, 2012)
                                          (explaining that “the Martin Act
                                          preempts common law claims
                                          involving the promotion,
                                          distribution, sale, or purchase of
                                          securities “within or from” New
                                          York.”).



NC        Yes.       N.C. GEN. STAT.      Follows Pinter                       No.                                        No.
                     ANN. § 78A-
                     24 (West 2023)       State v. Williams, 390 S.E.2d
                                          746, 749 (N.C. Ct. App. 1990)


ND        Yes.       N.D. CENT. CODE      N/A                                  Agent Materially Aids                      Yes.
                     ANN. § 10-04-04
                     (West 2023)                                               N.D. CENT. CODE ANN. § 10-04-              N.D. CENT. CODE ANN. § 10-04-02(1)
                                                                               17(6)(c) (West 2023)                       (West 2023)

                                                                               “(6) Each of the following persons are     “1. “Agent” means an individual, other
                                                                               liable jointly and severally with and to   than a broker-dealer, who represents a
                                                                               the same extent as persons liable under    broker-dealer or an issuer or is self-
                                                                               this section:                              employed in effecting or attempting to
                                                                                                  …                       effect purchases or sales of securities…”


6 See also 6 Loss, Securities Regulation, at 3814 [1969 Supp.]; see also Brenner v. Oppenheimer & Co. Inc., 44 P.3d 364, 373 (Kan. 2002) (holding that it was
correct for the lower court to use Kansas Blue Sky Laws over New York Blue Sky Laws “[b]ecause the Kansas statutes explicitly authorizes a private right of
redress for the sale of unregistered securities while New York state law does not, and because New York law only requires the registration of intrastate
securities.”).
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                                                                       c. A person who is a broker-dealer,
                                                                       agent, investment adviser, or
                                                                       investment adviser representative
                                                                       that materially aids the conduct
                                                                       giving rise to the liability under this
                                                                       section…”


OH   Yes.   OHIO REV. CODE     Follows Pinter                    No.                                             No.
            ANN. §
            1707.44(C) (West   In re Nat'l Century Fin.
            2024)              Enterprises, Inc., 504 F. Supp.
                               2d 287, 306 (S.D. Ohio 2007)


OK   Yes.   OKLA. STAT. tit.   Follows Pinter                    Agent Materially Aids                           Yes.
            71 §1-301 (West
            2024)              Odor v. Rose, 2008 WL             OKLA. STAT. tit. 71, § 1-509(g)(4)              OKLA. STAT. tit. 71, § 1-102(2) (West
                               2557607, at *3 (W.D. Okla. June   (West 2024)                                     2024)
                               20, 2008)
                                                                 “G. The following persons are liable            “2. “Agent” means an individual, other
                                                                 jointly and severally with and to the           than a broker-dealer, who represents a
                                                                 same extent as persons liable under             broker-dealer in effecting or attempting
                                                                 subsections B through F of this section:        to effect purchases or sales of securities
                                                                                   …                             or represents an issuer in effecting or
                                                                     4. A person that is a broker-dealer,        attempting to effect purchases or sales of
                                                                     agent, investment adviser, or               the issuer's securities ...”
                                                                     investment adviser representative
                                                                     that materially aids the conduct
                                                                     giving rise to the liability under
                                                                     subsections B through F of this
                                                                     section …”



OR   Yes.                      Privity                           No.                                             No.

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            OR. REV. STAT. §   Newman v. Comprehensive Care
            59.055 (West       Corp., 794 F. Supp. 1513, 1525-
            2024)              26 (D. Ore. 1992)


PA   Yes.   70 PA. CONS.       Inconsistent Standard              Agent Materially Aids                         Yes.
            STAT. § 1-         (decisions applying Pinter, the
            201 (2024)         “substantial factor” test and                                                    70 PA. CONS. STAT. § 1-102(c) (2024)
                                                                  70 PA. CONS. STAT. § 1-503(a) (2024)
                               requiring privity)
                                                                                                                “(c) “Agent” means any individual, other
                               Substantial Factor Test:           “(a) Every affiliate of a person liable       than a broker-dealer, who represents a
                               Gilliland v. Hergert, 2007 WL      under section 501 or 502,1 every partner,     broker-dealer or issuer in effecting or
                               4105223 at *4 (W.D.Pa. Nov.15,     principal executive officer or director of    attempting to effect purchases or sales of
                               2007)                              such person … and every broker-dealer         securities …”
                                                                  or agent who materially aids in the act or
                               Applying Pinter v. Dahl:           transaction constituting the violation, are
                               Fulton Bank, N.A. v. UBS Sec.,     also liable jointly and severally with and
                               LLC, 2011 WL 5386376 (E.D.         to the same extent as such person …”
                               Pa. Nov. 7, 2011)

                               Klein v. Boyd, 1996 WL 230012,
                               at *13 (E.D. Pa. May 3, 1996)

                               Requiring Privity:
                               Fox Int’l v. Fiserv. Secs. Inc.,
                               490 F. Supp. 2d 590, 603 (E.D.
                               Pa. 2007)


RI          R.I. Gen. Laws §   No.                                                                              No.
            7-11-301 (2024)




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          No.7                                                                 No.8


SC        Yes.       S.C. CODE ANN.        Follows Pinter                      Agent Materially Aids                       Yes.
                     35-1-301 (2024)
                                           Biales v. Young, 432 S.E.2d 482,                                                S.C. CODE ANN. 35-1-102(2) (2024)
                                                                               S.C. CODE ANN. 35-1-509(g)(4) (2024)
                                           484-85 (S.C. 1993)
                                                                                                                           “(2) “Agent” means an individual, other
                                                                               “(g) The following persons are liable       than a broker- dealer, who represents a
                                                                               jointly and severally with and to the       broker-dealer in effecting or attempting to
                                                                               same extent as persons liable under         effect purchases or sales of securities, or
                                                                               subsections (b) through (f):                represents an issuer in effecting or
                                                                                                  …                        attempting to effect purchases or sales of
                                                                                   (4) a person that is a broker-dealer,   the issuer's securities…”
                                                                                   agent, investment adviser, or
                                                                                   investment adviser representative
                                                                                   that materially aids the conduct
                                                                                   giving rise to the liability under
                                                                                   subsections (b) through (f)…”


SD        Yes.       S.D. CODIFIED         N/A                                 Agent Materially Aids                       Yes.
                     LAWS § 47-31B-
                     301 (2024)                                                S.D. CODIFIED LAWS § 47-31B-                S.D. CODIFIED LAWS § 47-31B-102(2)
                                                                               509(g)(4) (2024)                            (2024)



7 See CPC Int'l Inc. v. McKesson Corp., 514 N.E.2d 116, 120 (1987) (holding that New York and Rhode Island do not provide “provide for some form of civil
    liability”. See also 6 Loss, Securities Regulation, at 3814 [1969 Supp.]; Anwar v. Fairfield Greenwich Ltd., 728 F.Supp.2d 354 (S.D.N.Y July 29,
    2010) (noting the McKesson holding that New York and Rhode Island do not have a private right of action). But see Fraioli v. Lemcke, 328 F. Supp. 2d 250,
    275 (D.R.I. 2004) (noting "[a]lthough there is no Rhode Island case law interpreting this statute, this Court concludes that Plaintiffs have not presented any
    evidence that raises issues of material fact with respect to their claims under the RIUSA").
8 There is minimal Rhode Island caselaw clearly discussing the scope of seller’s or primary liability. See Fraioli v. Lemcke, 328 F. Supp. 2d 250, 275 (D.R.I.
    2004).

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                                                                  “(g) The following persons are liable         “(2) “Agent,” an individual, other than a
                                                                  jointly and severally with and to the         broker-dealer, who represents a broker-
                                                                  same extent as persons liable under           dealer in effecting or attempting to effect
                                                                  subsections (b) through (f):                  purchases or sales of securities or
                                                                                     …                          represents an issuer in effecting or
                                                                      (4) A person that is a broker-dealer,     attempting to effect purchases or sales of
                                                                      agent, investment adviser, or             the issuer's securities…”
                                                                      investment adviser representative
                                                                      that materially aids the conduct
                                                                      giving rise to the liability under
                                                                      subsections (b) through (f)…”


TN   Yes.   TENN. CODE ANN.    Follows Pinter                     Agent Materially Aids                         Yes.
            § 48-1-104 (West
            2024)              Demoss v. Kretz, 2009 WL           TENN. CODE ANN. § 48-1-122(g) (West           TENN. CODE ANN. § 48-1-102(3) (West
                               47142, at *6 (M.D. Tenn. Jan. 7,   2024)                                         2024)
                               2009)
                                                                  “(g) Every person who directly or             “(3) “Agent” means any individual, other
                                                                  indirectly controls a person liable under     than a broker-dealer, who represents a
                                                                  this section, every partner, principal        broker-dealer in effecting or attempting to
                                                                  executive officer, or director of such        effect purchases or sales of securities
                                                                  person … and every broker-dealer or           from, in, or into this state…”
                                                                  agent who materially aids in the act or
                                                                  transaction constituting the violation, are
                                                                  also liable jointly and severally with and
                                                                  to the same extent as such person…”


TX   Yes.   TEX. GOV'T CODE    Follows Pinter                     No.                                           Yes.
            ANN. § 4008.051
            (West 2023)        Highland Cap. Mgmt., L.P. v.                                                     TEX. GOV'T CODE ANN. § 4001.052(a)
                               Ryder Scott Co., 402 S.W.3d                                                      (West 2023)
                               719, 742 (Tex. Ct. App. 2012)
                                                                                                                “(a) a person or company employed,
                                                                                                                appointed, or authorized by a dealer to
                                                                                                                sell, offer for sale or delivery, solicit
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                                                                                                              subscriptions to or orders for, or deal in
                                                                                                              any other manner in, securities in this
                                                                                                              state directly or through a subagent.”


UT   Yes.   UTAH CODE ANN.   Follows Pinter                    Agent Materially Aids                          Yes.
            § 61-1-7 (West
            2023)            Wenneman v. Brown, 49 F.          UTAH CODE ANN. § 61-1-22(4)(a)                 UTAH CODE ANN. § 61-1-13(1)(b) (West
                             Supp. 2d 1283, 1290 (D. Utah      (West 2023)                                    2023)
                             1999)
                                                               “(a) Every person who directly or              “(1)(b) “Agent” means an individual
                                                               indirectly controls a seller or buyer liable   other than a broker-dealer who represents
                                                               under Subsection (1), every partner,           a broker-dealer or issuer in effecting or
                                                               officer, or director of such a seller or       attempting to effect purchases or sales of
                                                               buyer … and every broker-dealer or             securities…”
                                                               agent who materially aids in the sale or
                                                               purchase are also liable jointly and
                                                               severally with and to the same extent as
                                                               the seller or purchaser…”


VT   Yes.   VT. STAT. ANN,   Expansion of Seller’s Liability   Agent Materially Aids                          Yes.
            tit. 9, § 5301
            (West 2023)      Powell v. H.E.F. Partnership,     VT. STAT. ANN, tit. 9, § 5509(g)(4)            VT. STAT. ANN, tit. 9, § 5102(1) (West
                             835 F.Supp. 762, 764-65 (D. Vt.   (West 2023)                                    2023)
                             1993)
                                                               “(g) The following persons are liable          “(1) “Agent” means an individual, other
                                                               jointly and severally with and to the          than a broker-dealer, who represents a
                                                               same extent as persons liable under            broker-dealer in effecting or attempting to
                                                               subsections (b) through (f) of this            effect purchases or sales of securities or
                                                               section:                                       represents an issuer in effecting or
                                                                                  …                           attempting to effect purchases or sales of
                                                                   (4) a person that is a broker-dealer,      the issuer's securities…”
                                                                   agent, investment adviser, or
                                                                   investment adviser representative
                                                                   that materially aids the conduct
                                                                   giving rise to the liability under
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                                                                    subsections (b) through (f) of this
                                                                    section, unless the person sustains
                                                                    the burden of proof that the person
                                                                    did not know and, in the exercise of
                                                                    reasonable care could not have
                                                                    known, of the existence of conduct
                                                                    by reason of which liability is
                                                                    alleged to exist.”


VA   Yes.   VA CODE ANN. §    Follows Pinter                     Agent Materially Aids                        Yes.
            13.1-507 (West
            2023)             Shavin v. Commonwealth, 437        VA CODE ANN. § 13.1-522(C) (West             VA. CODE ANN. § 13.1-501(A) (West
                              S.E.2d 411, 415 (Va. Ct. App.      2023)                                        2023)
                              1993)
                                                                 “Every person who directly or indirectly     “Agent” means any individual who, as a
                                                                 controls a person liable under subsection    director, officer, partner, associate,
                                                                 A or B of this section, including every      employee or sales representative of a
                                                                 partner, officer, or director of such a      broker-dealer or issuer, effects or
                                                                 person … and every broker-dealer,            undertakes to effect sales of securities…”
                                                                 investment advisor, investment advisor
                                                                 representative or agent who materially
                                                                 aids in such conduct shall be liable
                                                                 jointly and severally with and to the
                                                                 same extent as such person…”


WA   Yes.   WASH. REV.        Expansion of Seller’s Liability    Agent Materially Aids                        No.
            CODE ANN. §
            21.20.140 (West   Hoffer v. State, 776 P.2d 963,     WASH. REV. CODE ANN. § 21.20.430(7)
            2023)             964-65 (Wash. 1989) (en banc)      (West 2023)
                              (applying the substantial factor
                              test).                             “… any such issuer, member of the
                                                                 governing body, committee member,
                                                                 public officer, director, employee, or
                                                                 agent of such issuer acting on its behalf,
                                                                 or person in control of such issuer,
                                                                  25
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                                                                                 member of the governing body,
                                                                                 committee member, public officer,
                                                                                 director, employee, or agent of such
                                                                                 person acting on its behalf, materially
                                                                                 aids in the offer or sale, such person is
                                                                                 liable to the purchaser of the security
                                                                                 only if the purchaser establishes scienter
                                                                                 on the part of the defendant...”


WV        Yes.        W. VA. CODE           Follows Pinter                       Agent Materially Aids                        Yes.
                      ANN. § 32-3-301
                      (West 2024)           Cunningham Energy, LLC v.            W. VA. CODE ANN. § 32-4-410(b)               W. VA. CODE ANN. § 32-4-401(b)
                                            Vesta O&G Holdings, LLC, 578         (West 2024)                                  (West 2024)
                                            F.Supp.3d 798, 815-16
                                            (S.D.W.Va. 2022) (noting that        “(b) Every person who directly or            “(b) “Agent” means any individual other
                                            the “West Virginia Uniform           indirectly controls a seller liable under    than a broker-dealer who represents a
                                            Securities Act follows the           subsection (a), every partner, officer or    broker-dealer or issuer in effecting or
                                            Uniform Securities Act of 1956,      director of such a seller, every person      attempting to effect purchases or sales of
                                            which was modeled after the          occupying a similar status or performing     securities…”
                                            Federal Securities Act of 1933”      similar functions, every employee of
                                            and “proceed[ing] with its           such a seller who materially aids in the
                                            analysis by interpreting the West    sale, and every broker-dealer or agent
                                            Virginia Uniform Securities Act      who materially aids in the sale are also
                                            consistent with the scope of the     liable jointly and severally with and to
                                            Federal Securities Exchange          the same extent as the seller…”
                                            Act.”9


WI        Yes.        WIS. STAT. ANN.       N/A                                  Agent Materially Aids                        Yes.
                      § 551.301 (West
                      2023)                                                      WIS. STAT. ANN. § 551.509(7)(d) (West        WIS. STAT. ANN. § 551.102(2) (West
                                                                                 2023)                                        2023)



9 There is limited West Virginia caselaw clearly discussing the scope of seller’s or primary liability, see id. at 815.
                                                                                   26
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                                                              “(7) The following persons are liable          “(2) “Agent” means an individual, other
                                                              jointly and severally with and to the          than a broker-dealer, who represents a
                                                              same extent as persons liable under subs.      broker-dealer in effecting or attempting to
                                                              (2) to (6):                                    effect purchases or sales of securities or
                                                                                   …                         represents an issuer in effecting or
                                                                  (d) A person that is a broker-dealer,      attempting to effect purchases or sales of
                                                                  agent, investment adviser, or              the issuer's securities…”
                                                                  investment adviser representative
                                                                  that materially aids the conduct
                                                                  giving rise to the liability under subs.
                                                                  (2) to (6) …”


WY   Yes.   WYO. STAT. ANN.    Follows Pinter                 Agent Materially Aids                          Yes.
            § 17-4-301 (West
            2024)              Miles v. Lawrence, 2011 WL     WYO. STAT. ANN. § 17-4-509(g)(iv)              WYO. STAT. ANN. § 17-4-102(a)(ii)
                               13086566, at *22-23 (D. Wyo.   (West 2024)                                    (West 2024)
                               April 15, 2011)
                                                              “(7) The following persons are liable          “(ii) “Agent” means an individual, other
                                                              jointly and severally with and to the          than a broker-dealer, who represents a
                                                              same extent as persons liable under            broker-dealer in effecting or attempting to
                                                              subsections (b) through (f) of this section    effect purchases or sales of securities or
                                                                                  …                          represents an issuer in effecting or
                                                                  (iv) A person that is a broker-dealer,     attempting to effect purchases or sales of
                                                                  agent, investment adviser, or              the issuer's securities…”
                                                                  investment adviser representative
                                                                  that materially aids the conduct
                                                                  giving rise to the liability under
                                                                  subsections (b) through (f) of this
                                                                  section....”




                                                               27
